Case 1-18-437

   
   

§ United States Bankruptcy Court for the:

District of

 

Fi|l in this information to identify the case:

3-nh|

 

(si<
Case number (//i<nown):

ie)

Chapter

 

 

Officia| Form 201
Voluntary Petition

 

lf more space is needed, attach a sepa
number (if known). For more informat'

1. Debtor’s name

0n, a

Foodoni NY 23 Corp.

for Non-lndividuals Fi|ing for Bankruptcy

rate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
separate document, Instructions for Bankruptcy Forms for Non-Individuals, is availab|e.

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El Checi< if this is an
amended filing

04/16

 

2. A|l other names debtor used
in the last 8 years

include any assumed names,

|Tl

Taverna

 

 

trade names, and doing business

 

88 names

 

 

3. Debtor’s federal Emp|oyer

4. Debtor’s address

27 _- 3338086
|dentit”ication Number (EIN) _ _______

Principa| place of business

Mai|ing address, if different from principal place
of business

 

 

 

 

 

5. Debtor’s website (URL)

 

Number Slreet Number Street
2€)-1 9 23rd Ave
P.O. Box
As;toria, NY 11105
City State ZlP Code city siaie ziP code
Location of principal assets, if different from
principal place of business
Clueens
County

 

Number Street

 

 

City Slate Z|P Code

 

 

6. Type of debtor

M'c

>rporation (including Limited Liabi|ity Company (LLC) and Limited Liability Partnership (LLP))
El Parrnership (exciuding LLP)
:l O her. Specify:

 

 

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i/o|unlary Petition for Non-lndividuals Fi|ing for Bankruptcy

page 1

Case 1-18-4372

Debtor

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Case number (irkndwn)

 

Name

 

7. Describe debtor’s business

 

A. Check one:

|;l Hea|th Care Business (as defined in 11 U.S.C. § 101(27A))
Cl ingle Asset Rea| Estate (as defined in 11 U.S.C. § 101 (51B))
El aimed (as denied in 11 u.s.c. § 101(44))
n toci-<broker (as defined in 11 U.S.C. § 101(53A))
Cl Commodity Broker (as defined in 11 U.S.C. § 101(6))
Cl clearing Benk (es denied in 11 u.s.c. § 781(3))

None of the above

 

 

B. C‘ieck all that app/y.'
El rex-exempt entity (as described in 26 u.s.C. § 501)

n |rvestment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 803-3)

n investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

c. NAics (Nertii Ariierica'n industry cias`sineatidn system 4-digit code that best'dest;ribes debtor. See `
n . .

tt ://www.uscourts. ovlfour-di it-nationai-association-naics~codes.

 

 

B. Under which chapter of the
Bankruptcy Code is the
debtor filing?

Chec k one:

d Chapter 7
El Ghapter 9
l;l Chapter 11. Check all that app/tc

i:l Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
insiders or afhiiates) are less than $2,566,050 (amount subject to adjustment on
4/01/19 and every 3 years after that).

m The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). if the
debtor is a small business debtor. attach the most recent balance sheet, statement
of operations. cash-fiow statement. and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

n A plan is being filed with this petition.

i;l Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

n The debtor is required to file periodic reports (for example, 10K and 100) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. Fiie the Attachment to Voluntary Pet/ti'on for Non-lndividuals Fi/ing
for Bankmptcy under Chapter 11 (Official Form 201A) with this fonn.

a The debtor is a shell company as defined in the Securities Exchange Act of 1934 Ruie
12b-2.

El Cnapter 12

 

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

if more than 2 cases, attach a
separate iist.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List ali cases. if more than 1,
attach a separate iist.

`L_..l N J
Myes_ Deb,,,, Panos Seretis Reiaiionship Soie Sharehoider

zim

:l YE=S. District When Case number
MM l DD / YYYY

District When Case number
Mi\lil DD / YYYY

 

District Southern District of New York When 06/20/2018

MM / DD lYYYV
Case number, if known 18'1 1 852

 

 

Ofncia| Form 201

 

oluntary Petition for Non-|ndividua|s Fi|ing for Bankruptcy page 2

 

 

Case 1-18-4372

Debtor

213-nhl

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Name

11. Why is the case filed in this
district?

Ch

9

m

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
d

ClA

Case number lirknbwn)

`k all that app/y.'

ebtor has had its domiciie, principal place of business, or principal assets in this district for 180 days
istrict.

bankruptcy case concerning debtor`s affiliate, general partner. or partnership is pending in this district.

 

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

dNo

n res Answer below for each property that needs immediate attention. Attach additional sheets it needed.

Why does the property need immediate attention? (Check all that apply.)

U it poses otis alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

m it needs to be physically secured or protected from the weather.

[:l it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for examp|e, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

m Other

 

Where is the property?

 

 

 

 

 

 

 

 

Number Street
City State ZlP Code
is the property insured?
m No
a Yes. insurance agency
Contact name
Phone
-:tatistical and administrative information
13. Debtor’s estimation of Check one:
available funds :l FL nds will be available for distribution to unsecured creditors.
a Aiter any administrative expenses are paid, no funds wi|| be available for distribution to unsecured creditors
_ Z 1-49 ill 1,000-5,000 El 25,001-50,000
“' ESt"F‘ated '“"“b°' °f II 50-99 El 5,001-10,000 El 50,001-100,000
cred't°rs II 100-199 |;l 10,001-25,000 Cl More than 100,000
Zl 200-999
_ U$o-$so,ooo lIl $1,000,001-$10 million Cl $500,000,001-$1 billion
15' Est'"‘ated assets Zl $50,001-$100,000 El $10,000,001-$50 million ill $1,000,000,001-310 billion
iIl $100,001~$500,000 El $50,000,001-$100 million El $10,000,000,001-$50 billion

Il $500,001-$1 million

l;l $100,000,001-$500 million Cl More than $50 billion

 

Officiai Form 201

 

oiuntary Petition for Non-|ndividuals Fi|ing for Bankruptcy

 

CaS€ 1-18-43723- ` h|

Debtor

 

Name

16. Estimated liabilities

._M§O$SOOOO_.

i

El 50,001-$100,000
U 100,001-$500,000
El 500,001-$1 million

Cl $1,000,001-$10 million

El $10,000,001-$50 million
El $50,000,001-$100 million
El $100.000‘001-$500 million

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Case number lirinbwn)

Cl $500.000,001-$1 billion

E| $1,000,000,001-$10 billion
El $10,000,000,001-$50 billion
m More than $50 billion

 

lequest for Relief, Declarati)on, and Signatures

 

WARN|NG -- Bankruptcy fraud is a sent
$500,000 or imprisonment

17. Declaration and signature of
authorized representative of
debtor

p etition.

correct.

us cll'ime. Making a false statement in connection with a bankruptcy case can result in fines up to
for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519. and 3571.

m The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

at | have been authorized to file this petition on behalf of the debtor.

! l have examined the information in this petition and have a reasonable belief that the information is true and

l dec are under penalty of perjury that the foregoing is true and correct.

 

 

E ecuted on w
F""\MWD /YYYY rd
""“§Q<e\\-J\ i>lil®@% S@ia; lig
3 Qnature}f`authorized representative m Printed name
Ttle @Lé\-‘xi\ ‘C? f

 

18. Signature of attorney

X %

k
;MG attc%y or debtor

Tanner Bryce Jones

Pr nted name
Jones Law Firm, P.C.

MM /DD /YYYY

 

 

 

 

Co ntact phone

5364013

Bar number

Fi rn name
43 W 43rd Street Suite 180
NL mber Street
New York NY 10036
Ci y State ZlP Code
(646) 820-2083 bryoe@joneslawnyc.com

 

Email address

NY
State

 

Offlcia| Form 201

 

 

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